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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 )    Chapter 11
                                                           )
    RED REEF ALTERNATIVE                                   )    Case No. 20-12602 (BLS)
    INVESTMENTS, LLC and EMERGENT                          )
    CAPITAL, INC.,1                                        )    Jointly Administered
                                                           )
                                     Debtors.              )    Ref. Docket Nos. 2 and 36


        NOTICE OF ENTRY OF ORDER DIRECTING JOINT ADMINISTRATION OF
         RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

                 PLEASE TAKE NOTICE that on October 15, 2020, the above-captioned debtors

and debtors in possession (collectively, the “Debtors”), each filed a voluntary petition for relief

under chapter 11 of title 11 of the United States Code with the Clerk of the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

                 PLEASE TAKE FURTHER NOTICE that the Debtors presented certain first-

day motions at a hearing before the Honorable Brendan L. Shannon at the Bankruptcy Court on

October 16, 2020. The Bankruptcy Court entered relief on the Debtors’ Motion for Order

Directing Joint Administration of Related Chapter 11 Cases for Procedural Purposes Only

[Docket No. 2], attached hereto as Exhibit 1, and entered the Order Directing Joint Administration

of Related Chapter 11 Cases for Procedural Purposes Only [Docket No. 36], attached hereto as

Exhibit 2.




1  The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
(0302) and Emergent Capital, Inc.’s (3473). The location of the Debtors’ service address for purposes of these cases
is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.



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 Dated: October 16, 2020              PACHULSKI STANG ZIEHL & JONES LLP


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                                      Proposed Counsel for the Debtors
                                      and Debtors in Possession




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